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(6/96)

                                      United States District Court
                                                           for

                                        WESTERN DISTRICT OF TEXAS


               Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Norma Linda Jaimes
Case Number: 1:09CR00557-002-JRN
Name of Sentencing Judicial Officer: Honorable James R. Nowlin, Senior United States District Judge
Date of Original Sentence:        April 8, 2010
Original Offense: Ct. 1:        Conspiracy to Possess with Intent to Distribute 5 Kilograms or More of Cocaine, in
violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A); and Ct. 2: Possession with Intent to Distribute 5
Kilograms or More of Cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A)
Original Sentence: 120 months custody on each of Counts One and Two, to be served concurrently; followed by
5 years supervised release, on each count to run concurrently
Type of Supervision: Supervised Release                                  Date Supervision Commenced: June 8, 2018
Assistant U. S. Attorney: Sharon S. Pierce                                Defense Attorney:    Thomas C. Fagerberg


                                           PREVIOUS COURT ACTION

None.

                                            PETITIONING THE COURT

[X]        To issue a warrant                            [ ] To issue a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:

Violation of Mandatory Condition No. 1: “The defendant shall not commit another federal, state, or local
crime.”

Violation of Standard Condition No. 17: “If the defendant is excluded, deported or removed upon release on
probation or supervised release, the term of supervised release shall be a non-reporting term of probation or
supervised release. The defendant shall not illegally re-enter the United States. If the defendant lawfully re-
enters the United States during the term of probation or supervised release, the defendant shall immediately report
in person to the nearest U.S. Probation Office.”
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Nature of Non-compliance: On April 8, 2010, Norma Linda Jaimes was sentenced by Senior United States
District James R. Nowlin to 120 months custody of the Bureau of Prisons, followed by a five-year term of
supervised release, for the offenses of Ct. 1: Conspiracy to Possess with Intent to Distribute 5 Kilograms or More
of Cocaine, in violation of 21 U.S.C. §§ 846, 841(a)(1) and (b)(1)(A); and Ct. 2: Possession with Intent to
Distribute 5 Kilograms or More of Cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A). Said terms were
ordered to be served concurrently. Her term of supervised release began on June 8, 2018. On February 8, 2019,
the defendant was removed from the United States to Mexico.

In mid-February 2020, the Immigration and Customs Enforcement (ICE) Capital City Fugitive Operations Team
(FOT) received information from multiple law enforcement agencies that the defendant, Norma Linda Jaimes, a
previously deported alien was residing in the Austin, Texas, area. On September 15, 2020, FOT members began
conducting surveillance at 514-A Montopolis Drive, Austin, Texas, the defendant’s home address. Agents
observed Jaimes exit her residence, enter the passenger side of a vehicle and leave the location. Agents followed
the vehicle and performed a traffic stop on the vehicle. When initially asked, the defendant stated her name was
Elizabeth Espinoza-Perez and presented a Mexican driver’s license bearing the same name. After being
questioned regarding her identity, Jaimes admitted that the identification she provided was false and she provided
her true name and date of birth. The defendant admitted to being illegally present in the United States without
proper immigration documents allowing her to be in or remain in the United States. At the time of her arrest, the
defendant was in the United States illegally and had not received the permission of the United States Attorney
General or the Secretary of Homeland Security to re-enter the United States. On September 15, 2020, a Criminal
Complaint was filed in the Austin Division of the Western District of Texas, under Docket No. 1:20-MJ-00794-
SH-1, charging the defendant with Illegal Re-entry into the United States. The defendant remains in the custody
of the United States Marshals Service in Austin, Texas. She is represented by Assistant Federal Public Defender
Charlotte Anne Herring. It should be noted that the defendant’s term of supervised release was due to expire on
June 7, 2023.


U. S. Probation Officer Recommendation:

The term of supervision should be:

[X] Revoked.

[ ]   Extended for                    years, for a total term of                        years.

[ ]   The conditions of supervision should be modified as follows:

Approved by,                                                        Respectfully submitted,
    _________
Russ G. Wiedenmeyer                                                 Cinnamon Ornelas
Supervising U.S. Probation Officer                                  U.S. Probation Officer
                                                                    Date: September 25, 2020
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Approved by: /s/ Sharon S. Pierce
             Sharon S. Pierce
             Assistant U.S. Attorney

* recommend           ☐does not recommend     Justification:


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THE COURT ORDERS:

[ ]    No Action

[ X]   The Issuance of a Warrant

[ ]    The Issuance of a Summons

[ ]    Other


                                                      Honorable Susan Hightower
                                                      U.S. Magistrate Judge

                                                       September 25, 2020
                                                      Date
